                      Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 1 of 11 PageID #:842
ILND 245C (Rev.0410212018) Amcnded Judgment in    a   Criminal   Case                                                     (Note: Identifu Changes with Asterisks (*))
Sheet I




                                     LTNITED STATES DISTRICT COURT
                                                                  Northern District of Illinois

 UNITED STATES OF AMERICA                                                            AMENDED JUDGMENT IN A CRIMINAL CASE
              v.
 HIRSH MOHINDRA                                                                      CaseNumber: l:17-CR-00442(1)
                                                                                     USM    Number:      52471-424
 Date of Original Judgment: ll130/2018
 (Or Date of Last Amended Judgment)                                              {   Chris C. Gair
                                                                                     Defendant's Attorney
 Reason for Amendment:
 E      Correction of Sentence on Remand (lS U.S.C. 3742(f)(l) and (2))              E    Modification of Supervision Conditions (18 U.S.C. gg 3563(c) or
 E      Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    3583(e))
        P.35(b))                                                                     El   Modification of Imposed Term of Imprisonment for Extraordinary
  E     Correction ofSentence by Sentencing Court (Fed. R. Crim. P. 35(a))                and Compelling Reasons (18 U.S.C. $ 3582(c)(l))

  I Conection of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                 E    Modification of Imposed Term of lmprisonment for Retroactive
                                                                                          Amendment(s) to the Sentencing Guidetines (18 U.S.C. $
                                                                                          3582(c)(2))
                                                                                     E    Direct Motion to District Court Pursuant   E   Zt U.S.C.     5 ZZSS
                                                                                          or E l8 u.s.c.   $ 3559(c)(7)
                                                                                     E    Modification of Restitution Order (lS U.S.C. $ 3664)
THE DEFENDANT:
    E     pleaded guilty to count(s) Count 1 (one) of the Indictment.
   E      pleaded nolo contendere to count(s)             which was accepted by the court.
   E      was found guilty on   count(s)        after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                           Offense Ended                      Count
  l8:1343.F Fraud By Wire, Radio, Or Television                                                                11t04t2011                          I




The defendant is sentenced as provided in pages           I   through   I ofthisjudgment.   The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this iudgment. the iudsment previously entered shall stand. (See
attachments)

   E      The defendant has been found not guilty on count(s)
   8      Count(s)   2,3,4   and 5 of the Indictment are dismissed on the motion of the United States.

          It is ordered that the defendant must notifu the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                              November 21.2018
                                                                                              Date of Imposition of Judgment


                                                                                              Signature ofJudge

                                                                                              Elaine E. Bucklo , United States District Judge
                                                                                              Name and Title of Judge

                                                                                                (,t           c
                                                                                              Date
Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 2 of 11 PageID #:842




                             B*liltfl   ttffiffi
                Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 3 of 11 PageID #:842




                                  IINITED STATES DISTRICT COURT
                                                         Northem District of Illinois


                UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                   v.

                       HIRSH MOHINDRA                                            CaseNumber:              l:17-CR-00442(l)

                                                                                 USM    Number:           52471-424



                                                                                 ImaniChiphe
                                                                                 Defe.ndant's Attormy


THE I}EFENDANT:
Etr pleaded   guilty to count(s) Count   I   (one) of the Indictment.
D                         count(s) which was accepted by the court.
     pleaded nolo contendere to
fi was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilry ofthese offenses:
 Title   *$eq{ion,/ N*ture of Oflcnsp                                                                   Offe$se Ended                CouE!
 I8:I343.|'l'raud By Wire. Radio, Or Televrision                                                        r lt04l?0r l                 I




The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sintencs is imposed pur3tlant to the Sentencing Reform
Acr of 1984.

E    Ttre defendant has been found not guilty on coun(s)

8l   Count(s) ?, 3,4 and 5 of the Indictment are dismisred on the motion of the l-inited States.

It is ordered that rhe defendant must notify the Unit€d Stat€s Aworney for this District within 30 days of any change of n&me, residence, or
mailing address until all fines, restitution, co$ts, and special assessments imposed by this judgment are fully paid. If orderedto pay
restitution, rhe dEltndant must notify the courl and United States Attorney of matorial ctrangJs in economic circumstances.


                                                                                    November2l,2018
                                                                                    Dateqlm$rosition ofJudqment
                                                                                         '
                                                                                                    * *j
                                                                                                                        .. {r'
                                                                                                                              ._,i
                                                                                           .r,/
                                                                                       *#1. "  { r, -;;,+"".{.r"-.C"-{r L"   i"'
                                                                                    Signature ofJudge

                                                                                    Elaine E. Bucklo, United $tates District Judge
                                                                                    Name and Title of Judge

                                                                                        /tr.'s{t /;"y
                                                                                    Date
                     Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 4 of 11 PageID #:842
[..ND 2458 (Rev. 03/298018] Judgment in a Criminal Cxe
Sheet 2   -   lmprisonment                                                                                                        Judgmcnt*Pdse2of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I : l7-CR-00442(l)
                                                                          IMPRISONMNNT
The defendant is hereby committed to the custody of the Unhed Stales Bureau of Prisons to be imprisoned for a total term of:
FOIjRTEEN (14) MONTHS                           as   to Count      I   (one) of the lndictment.

A        Tte court makes the following reeommendations to the tsureau of Frisons: l-hat the defendant be incarcerated at the Oxford
Correctional Institution.
E              The defendant is remarded ro the custody of the United $tates Marshal.

tr             The defendant shall surender to the United States Marshal for this disrricr:

               tr
     tr             as   notified by the United States Marshal.

     B              The defendant shall surrender fbr service ofsentence at the institution designated by the Bureau ofPrisons:

               EI         before 2:00 pm on February 19, ?019.

               tr         as   notified by the United States Marshal.

               El         as   mrified by rhe Probation or Pretrial Services Office.




                                                                                RETURN

I have executed this judgment            as   tbllows:




Defendafltdeliveredon_to                                 -----_   -_--_                &t -                          ,,withacertifiedcopyofthis
judgment.




                                                                                                  UNITED STATES MARSHAI"


                                                                                           By
                                                                                                  DEPUTY UNITED STATES MARSHAI,
                      Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 5 of 11 PageID #:842
ILND 2458 {Rev.3129/7018) Judgmsnt in a Criminal      Case
She,et 3   -   Supervised Releasc                                                                                                Judgment   *   Page   .1   of   I
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I : l7-CR-00a42(l)

               MANDATORY CONDITIONS OF SUPERyISED RALIASE PURSUANT TO                                                     18 U.S.C g 35S3(d)

Uoon release liom imprisonment. vou shall be on suDervised release for a term of:



         You must repcrt to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks be low:

During the period ofsupervised relsase:
 A (l) you shall not commit another Federal, State, or local crime.
 A (2) you shall not unlawfully possess a controlled substance.
 tr (3) you shall attend a public, private, or private nonprofit ofTender rehabilitatinn           program that has been approved by the court,                  if
                   an approved program is readily available within a S0-mile radius    of your legal residence. [tIse for a first convictign of        a
                   domestic violence crime, as defined in $ 3561(b).1
 H             (4) you shall register    and comply with all requirements of the Sex Offender Regisrrarion and Notification Act (42 U.S.C. g
                   r6er3).
 EI            (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 n             (6) you shall refrain from any unlawful use of a controlled substaxre AND submit to one drug te$t wiihin l5 days of release on
                   supervised release and at least two periodic tests thereafter" up to I04 periodic tests for use ofa controlled substance during
                   each year eif supervised release. [This rnandatory condition may tre ameliorated or suspended by the court for any defendant
                   ifreliable sentencing information indicates a low risk offuture substance abuse by the defendant.]


  DISCRETTONARY CONDITIONS Or SUPERYTSED RELEA$E PURSUANT T(} l8 U.S.C g 3s63(b) AND
                                 18 u.s.c g 3s83(d)

Discretionary Conditions             *
                                The court orders that you abide by the follorving conditions during the term ofsupervised release because such
conditions are reasonably related to the factors set forth ir $ 35#.$(aX1) and {aX2}iB).,(9}. and iQ}; such condiiions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in 355j iiXS) (B). (C). and {D): and such
                                                                                              $
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursu"ant to f* USC. Waa.
The court imposes those conditions identified by checkmarks below:

During thc period ofsupervised release:
 El (l)               you shall provide financial supporr to any dependents iffinancially able.
 n Q)                 you shall make restitution to a victim of the offense under 3556 (but not subject t0 the limitalion of g 1663(a) or
                                                                                 $
                      g 3663A(c)(tXAD.
 tr (3)               you shall give to the victims of the offense notice pursuant to th6 provisions of 35-55, as {bllows:
                                                                                                           $                 ffi$
 B (4)                you shall seek, and work conscientiously aq lawfut employment or pursue eonscientiously a course of study or
                      vocational training that !ryill equip you for employment.
 a         (s)        you shall refrain from engaging in a specified occupation, business, orprofession bearing a reasonably direct relationship
                      to the conduct constituting the offense, or engags in such a specified occupation. business, or profession only to a stated
                              o;""q1g-e#tglsd cjrcumsta,,lces; (if checked yes, please indicare restriction(s))

 a         (6)        you shall refrain ftom knowingly meeting or communicating rvith any person whom you knqw to be engaged, or
                      planning to be engaged, in criminal activity
                                                                   {-ld-&om:
                      tr  visiting the fotlowing type of places   tm.
                      E   knowingly meeting or communicating with the following persons:
                                                                                         ffi#ffi
 n0)                  you shall refrain from D any or     I
                                                      excessive use ofalcohol (defined as D having         a blood alcohol concentration grealer
                      than 0.08); or    [3    , or any use cf a narcotic drug or other controlled substance, as defined in $ I02 of the Controlled
                      Substances Act (2l U.S.C. $ !gD, without a prescription by a licensed medical pracritioner.
 A         (8)        you shall refrain from possessing a fire*rm, deshuctive device, or orher dangerous weapon.
 n         (e)        E      you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which
                                                                                                                                           may
                             include urine testing up to a maximum of 104 tests per year.
                              Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 6 of 11 PageID #:842
ILND   24     58 (Rev. 3i?9,?018) Judgmenl in      a Criminal Case
Sheet 3   *       Supewised Rcleasc                                                                                                     Judgment-Page4of9
DEFENDANT; HIRSH MOHINDRA
CASE NUMBER: I:17-CR-00442(l )
                              E    you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                                   the use of prescription medications.
                              n    you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specif i )'H )
 n (10)                       (intermittent confinement):,y9l1"shall remain in the custody of the Bureau of Prisons during night*, weekends, orother
                              intervals of time, totaling ffiVAlno more than the lesser of one ycar or the term of imprisonment authorized for the
                              offense], during the first year ofthe term ofsupervised release (provided ho*'ever, that a condition set fofih in $
                              3563(bxl0) shall be imposed only for a violation of a condition of supervised release in accordance with g 3$83{e){2)
                              and only when facilities are available) forthe following period'iffi.
 n            (   I   I   )   (community confinement): you shall rsside at, or participate in the program of a community corrections facility
                              (including a facility ma.r"ll}pl.'.n9d or under confract to the Bureau of Prisons) for all or part {)f the term of supervised
                              release, for a period of ffimonths.
 E 021                        you shall work in community service     for            hours as directed by a probation officer.

 fl ( l3)                     you shall reside in the following place or area,ffi@, or refrain from residing in a specified place or area,il#&
 A ( l4)                      you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
                              or a probation officer.
 A ( I 5)                     you shall report to a probation officer as directed by the court or a probation officer.
 B (16) EI                           you shall permit a probation ofTicer to visit you El at any reasonable time   or El as specified;        ,
                                     E   at home                 EI at work                E   at school               E   at a community service location
                                     E   other reasonable location specified by a probation officer
        A you shall permit confiscation of any contraband observed in plain view of the probation officer.
 H (17) you shall notiry a probation ofTicer promptly, within 72 hours, of any change in residence. emptoyer, or workplace and,
        absent constitutional or other legal privilege, answer inquiries by a probation officer.
 A (18) you shall notiry a probation officer promptly, within 73 hours, if arrested or quesiioned by a law enforcemenr officer.
 n (19) (home confinement): you shall remain at your place of residence for a total of ffi months during nonworking hours.
        [This condition may be imposed only as an alternative to incarceration.]
        n Compliance wilh this eondition shall be monitored by telephonic or electonic signaling devices {the selection of
                                     which shall be determinsd by a probation officer). Electronic monitoring shall ordinarily be Hsed in connection
                                     with home detention as it provides continuous rnonitoring of your whereabouts. Voice identification may be used
                                     in lieu of electronic monitoring to monitor home confinement ancl provides for random monitoring of your
                                     whereabouts. If the otYender is unable to weax an electronic monitoring device due to health or nreOical reasons, it
                                     is recornmended thai home confinement with voice identificuion be ordered, which will provide for randorn
                                     checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                                     appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                                     history of violent behavior, serious menial health problems, or substance abuse; has pending criminal charges
                                     elsewhere; requires frequenl travel inside or outside the district or is required to woik more than 60 hoursler
                                     week.
                              EI     You shall pay the cosl of electronic monitoring or voice identification at the daily contractual rate, if you are
                                     financially able ter do so.
        n The Court waives the elecfonic/location msnitoring component of this condition.
 u (20) you shall comply with ths terms of ary court order or order of an administrative process pursuant to rhe law of a State.
                              the District of Columbiq or any other possession or territory of rhe United Statej, requiring payments by you for the
                              supporf and maintenance of a child or of a child and the parent with whom the child is living.
 tr (21)                      (depo*ation): you shall be surrendered to a duly authorized ofticial of the Horneland Security Depa*ment for
                                                                                                                                             a
                              determination on the issue of deportability by the appropriate authorig in accordance with the laws under the
                              lmmigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                              reenter the United States without obtainis$ in advance, fhe express wrirten consent of the Attorney General or the
                              Secretary of the Department of Homeland Security.
 EI{22)                       you shall satisfy such other special conditions as ordered below.
 n (23)                       (if required to register under the $ex Offender Registration and Notifrcation Act) you shall submii at any rime, with
                                                                                                                                                    or
                              without a warrant, to a search ofyour person and any property, house, residence, vehicle, papers! comput€r, other
                              elecrronic communication or data slorage devices or media, and effects, by any law enforcement 6r probation
                                                                                                                                              officer
                              having reasonable suspicion concerning a violatjon of a condition of supervised release or mlawful conduct
                                                                                                                                             by you. and
                              by any probation officer in the lawful discharge ofthe oflicer's superviiion functions (see special conditions
                                                                                                                                             section).
 tr         Q4\               Other:
                      Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 7 of 11 PageID #:842
II-ND 2458      (.Rcv .   3nSn0l8) Judgrnent in a Criminal   Case
Sheet 3   -   Supervised Relvrse                                                                                                       Judgment*Page5of9
DEfENDANT: HIRSH MOHINDRA
CASE NUMBER: I :l 7-CR-00442(l)

SPECIAL CONDITIONS oF SUPf,RVISED RELEASE PURSUANT TO ls U.S.C.3s63(bx22) and 358$(d)
The court imposes those conditions identifred by checkmarks below:


During the term ofsupervised release:
 tr       (I   )          if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                          Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 trQt                     ycu shall participat€ in an approved job skill-training program at the direction of a probation officer within rhe first 60
                          days ofplacement on supervision.
 a        (3)             you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after ternrination or lay-off
                          from employment, perform at least 20 hours of community service per week at the direction of ths U.S. Probation Ofiice
                          until gainfully ernployed. The amounl of community service shall not exceed        ffi
                                                                                                               hours. (100 hours of every year of
                          supervised release.
 n        (4)             you shall not maintain employment where you have access to other individual's personal information. including, tut not
                          limhed to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 Et       (5)             you shall not incur new credit charges or oper additional lines ofcredit withsut the approval ofa probation o{tcer unless
                          you are in compliance with the finansial obligations imposed by this judgment.
 a        (6)             you shall provide a probation oflicer with access to any requested financial informaiion neces$ry to monitor compliance
                          with ccnditions of supervised release.
 a        (7)             you shall notify the cou( of any material change in your sconomic circumstances that might affect your ability to pay
                          restitution, fines, or special assessments.
 A        (8)             you shall provide documentation to the IRS and pay taxes as required by law.
 E        (e)             you shall participate ir a sex offender ireatment program. The specific program and provider will be determined by a
                          probation officer, You shall comply with all recommended treatmsnt which may include psychological and physioiogical
                          testing. You shall maintain use of all prescribed medications.
                          n        You shall comply with the requirements of the Computer and Internet Monitoring Program as adminisrered by the
                                   lJnited States Probation OfTice. You shall consent to the installation ot'computer monitoring software on all
                                   identified computers 1o which you have access, The software may reshict an#or record any and all activity on the
                                   computer, including the capture of keystrokes, application information, Internet use history, email
                                   correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                                   warn others ofthe existence of the monitoring $oftware. You shall not remove, tamper with, reverse engineer, or
                                   in any way circumvent the soltware.
                          tr       The cost of the monitoring shall be paid by you at the monthly conracrual rate, if you me financially able, subject
                                   to satisfaction of other financial obligations imposed by this judgment.
                          n        You shall not possess or use any devise with access to any online computcr service at any location (including
                                   place of employment) without the prior approval of a probation officer. This includes any Internet service
                                   provider, bulletin board system, or any other public or private network or email system.
                          n        You shall not possess any device that could be used for coveri photography without the prior approval      ofa
                                   probation officer.
                          tl       You shall not view or possess child pomography. If the treatment provider determines that exposure to other
                                   sexually stimulating material rnay be detrimental to the treatrnent process, or that additional conditions are likely
                                   to assist the treatmsnt process, such proposed conditions shall be promptly presented to the court, for a
                                   determination. pursuant to I8 U.s.C. $ 3583(e[2), regarding wheiher to iniarge or othsrwise modify the
                                   conditions of supervision to include conditions consistent with the recommendations of the treatmenr provider.
                      A            You shall not, without the approval of a probation ofiicer and treatnent provider, engage in activities
                                                                                                                                             that will put
                                   you in unsupervissd private contact with any person under the age of I 8, or visit tocations where
                                                                                                                                       chitdren
                                   regularly congregate (ag., locations specified in the Sex^Offender Registration and Notification Aet.)
                      tr           This condition does not apply to your ftmily members:
                                                                                             &ffi   p.tamesl
                      n            Your employment shall be restricted to the district and division where you reride or are supervised,
                                                                                                                                         unless
                                   approval is granted by a probation officer. Priorto accepting any formofemployment, you
                                                                                                                                 shall seek the
                                   approval ofa probation otlicer, in orderto allow ths probation officer, the opporiuniry
                                                                                                                           io assess the lEvel ofrisk to
                                   the community you will pose if employed in a particular capacity. You shall not paricipate
                                                                                                                                 in any volunteer
                                   aclivity that may cause you to come into direct contact with children except undei circumstances
                                                                                                                                       approved in
                                   advance try a probation officer and treatment provider.
                       Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 8 of 11 PageID #:842
ILND 2458 (Rev. 3[92018] Judgrent in a Criminal Casr
Sheet   3* Supcrvlfd        Rglerse                                                                                             Judgmenl*   Pagc 6   of9
DEfENDANT: HIRSH MOHINDRA
CASE NUMBER: I :17-CR-00442(l)
                       E      You shall provide the probation sfficer witlr copies of your telephone bills, all credit eerd statements/receipts, and
                              any other financial information reque$ted.
                       tl      You shall cornply whh all state and local laws pertaining to convicted sex offenders. including such laws that
                               impose restrictions beyond those set forth in this order.
 B        (   I   0)   you shall pay any financial penalty that is imposod by this judgment that remains unpaid et the coffimeneement of the
                       term of supervised relsase. Your monthly payment schedule shall be an amount tlrat is at least    ffi  of your net monthly
                       income, defined as incorne net ofreasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                       employnrent-related expense$.
 Xl       (l      l)   you shall not enter into any agreement to act as an informer or special agent ofa law enforcement ag&ncy without the
                       permission of the coufi.
 U 02)                 you shall repay the United States "buy monoy" in the amount of     $        which you received during the commission of
                       this offense. (The Clerk of the Court shall remit the funds to        (include Agency and Address).)
 A ( l3)               if the probation officer determines drat you pose a risk to another person (including an organization or members of the
                       community), the probation officer may require you to tell the person about the risk. and you must comply with ihat
                       instruction. Such notification could include advising the person about your recnrd ofarrests and convictions and
                       substance use. The probation ofTicer may contact the person and confirm that you have told the person about the risk.
 tr (14) Other:W,re
                Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 9 of 11 PageID #:842
IL.ND 2438 (Rev. 3fl9l2018) Judgment in a Criminal Case
Sheet 5 * Crirninal Mon€tarv Pefialties

DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I :17-CR-004a2(l)
                                               CRTMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                  Assessment         JYT,{ Assa!$ment*                     Fine            llestitutior
 TOTALS                                                   $r00.00                   $.00                   $.00         $ r.4s4.62r.00



 n      The determination of restitutiofl is deferred        until
                                                            . An AmendedJudgment in a Criminol Case f,lorrict will be entered after such
        determination.
 A      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        lf the defendant makes aprrtial palment, each pa1'ee shall receive an approximately proponioned payrnent, unless specified
        o*rerwise in the priority order or percentage payment column below. However, purisuent to I8 U.S.C, $ 3664(i), all nonfederal
        victims must be paid before the United States is paid.


     Restitution of $534,062.00 to:

          HOUSING AND URBAN DEVELOPMENT FHA*
          HUD FOC DEBT
          P0 BOX 979056
          SAINT LOUIS, MO 63I97,9000
          $301.534.00

          WELLS FARGO
          WF'HM-RESTITUTIONS
          I HOME CAMPUS,4TH FL.
          SUCCESSOR. TOR PR"IMARY RESIDENT
          DES MOINES,IA 50328
          $232,528,00

     Restitution of $920,559.00, jointly and severally with co-defendant Erian Patterson ( I : I 7-cr40442-3), to:

          HOUSITTIC AND URBAN DEVELOPMENT FHA*
          HUD tsOC DEBT
          PO BOX 979056
          sArNT LOUIS, MO 63197-9000

          $635,388.00

          MORTCAGE SOLUTIONS OT COLORADO DOVENMUEHLE MORTGAG
          I CORPORATE DR., SUITE 360
          LAKE ZURICH, IL 60047

          $34,643.00

          WELLS FARGO
          WFHM.RESTITUTIONS
          I HOMECAMPUS,4TH FL.
          SUCCESSOR FOR PRIMARY RESIDENT
          DES MOINES, IA 503?&

         $260.528.00

     *federal agency to be paid after all other victims
                                                        receive full restitution.
                    Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 10 of 11 PageID #:842
II.ND 24rB (Rev. 3/?912018) Judgment in    a CriminolCss€
Sheet 5   -   Criminal Monetry Pcnaltics                                                                                         Judsment-IlaceIof9
DETENDANT: HIRSH MOHINDRA
CASE NUMBER: 1 : l7-CR-00442(l )

          n            Restitution amount ordered pursuanf to plea agreement $

          n            The defendant must pay interest on restitution and a fioe of more than $2,500, unless the restitution or fine is paid in full
                       before the fifteenth day after the dxe of the judgment, pursuant tCI 18 U.S.C. $ 3611(f,. All of the payment options on Sheet
                       6 rnay be subject to penalties for delinquency and dofuult pursuent to l8 U.S.C. g 36tt(S).
          n            The court determined that the defendant does not have the ability to pay interest and it ir ordered that:

                       fl              the interest requirement is waived for the

                       n               the interest requirement for   the     is modified as follows:

          tr           The defendant's noil-exempt assets, if any, are subject to immediate exesution to satis$ any outstanding restitution or fine
                       obligations.

          * Justicr fsr Victims of Trafficking Act of 2015, Pub. L. No. I l4-22.
          * Findings for the total amount of
                                       losses are required under Chapters I{19A, I10,            tloA, and I l3A af Tiile   18   for oflerues committed
      on or after September 13,1994, but before April 23, I996.
                    Case: 1:17-cr-00442 Document #: 129 Filed: 12/21/18 Page 11 of 11 PageID #:842
ILND 2458 (Rev. 03/?9/2018) Judgnent in o Criminal      Case
Sheet 6   -   Schedule of Payrnents                                                                                                            ludgment-      Page 9   of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I : 1 7-CR-00a42(l)
                                                               SCHEDULE OF PAYMENTS
Having essessed the defendant's ability to pay, payment of ths total criminal monetary penalties is due as follows:


A         A         Lurnp surn payment of $100.00 due immediately,


                    n          balalrce due not later   than       , or

                    a          balance due in accordance with      tr   C,   B D, fl   E, or    El   F below;   or


BN                  Paym€nt to begin immediately (may be combined wirh                 I   C,   f] D, or fl     F below); or


CN                  Payment in        equal     (e.g. weekly, monthly, quorterly) installments of $                     over a period   of   {e-g", months or    j,eart),to
                    commence             (e.g., 30 or 60 days) after the date of this      judgment or

D         n         Payment in equal          (e.g. weekly, m()nthly, quarterly) installments of $        rver a period of                   ("e.g.. months   or years),ta
                    commenc8         fe.g., i0 or 60 day,r) after release frorn imprisonment to a term of supervision; or


          n         Payment durirg the term of supervised release will commence within          (e.g., 30 ar 60 days) after release from impri
                                                                                                                                         rmpnsonment.
                    The csurt will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

          A         Special instructions regarding the payment of criminal monetary penahies:
                    Defendant shall pay any unpaid financial penalty of at least l0% of net moflthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonmeni. AII criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' lnmate Financial
Responsibility Program. are made to the clerk ofthe cour.t,

The defendant shalt receive credit for all payments previously made toward any criminal monetrry penalties imposed.

A         Joint and Several

Case Number                                             Total Amounl                       Joint and $everal               Correspondiug Payeeo   if
Defendant and Co-Defendant Names                                                           Amount                          Appropriate
(including defendant nu mber)

I :17 -cr-0$442-2 Steven Miller
I :17 -cr-00442-3 Brian Patterson

**See above for Defendant and Co-Defendant Names
                                                     and Case Numbers (inctuding delbndanr number), Total Amounl Joint and Several
Amount, and corresponding payee, if appropriate. * *

n         The defendant sha1l pay the cost ofprosecution.

tr        The defendant $hall pay the following court cost(s):

tI        The defendant shall forfeit the defendant's interest in the following property ro the United Srates:

Payments shall be applied in the following order: (l) asse*sment, (2) restitution princip*|. (3) restirution interesr, (4) fine principal,
(5) fine interest, (6) community restilution, (7) penalties, and (s) costs, including cost of proseeution and
                                                                                                              cout eost
